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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                       TYLER DIVISION

    UNITED STATES OF AMERICA                           §
                                                       §
                                                       §          CASE NO. 6:14-CR-64-JDK
    vs.                                                §
                                                       §
                                                       §
    BOBBY EUGENE JONES, III (5)                        §
                                                       §

                  ORDER ADOPTING REPORT AND RECOMMENDATION
                     ON REVOCATION OF SUPERVISED RELEASE

          The Court referred a petition alleging violations of supervised release conditions to United

  States Magistrate Judge K. Nicole Mitchell at Tyler, Texas, for consideration pursuant to

  applicable laws and orders of this Court. The Court has received and considered the Report of the

  United States Magistrate Judge filed pursuant to such order, along with the record, pleadings, and

  all available evidence.

          At the close of the December 2, 2021 revocation hearing, Defendant and defense counsel

  signed a standard form waiving the right to object to the proposed findings and recommendations

  contained in the United States Magistrate Judge’s Report, consenting to revocation of supervised

  release and consenting to the imposition of the sentence recommended in the Report. Counsel for

  the government orally waived the right to object to the Report. Defendant also waived his right to

  be present and speak before the District Judge imposes the recommended sentence. Therefore, the

  Court may act on the Report and Recommendation immediately.

          Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are correct

  and the Report of the Magistrate Judge is ADOPTED. It is therefore




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         ORDERED that Defendant’s plea of true to Allegation 2 in the petition is ACCEPTED.

  Based upon Defendant’s plea of true to Allegation 2 in the petition, the Court finds that Defendant

  violated the conditions of his supervised release. It is further

         ORDERED that Bobby Eugene Jones, III’s supervised release is REVOKED. Judgment

  and commitment will be entered separately, in accordance with the Magistrate Judge’s

  recommendations. It is finally

         ORDERED that Defendant be committed to the custody of the Bureau of Prisons for a

  term of imprisonment of 8 months with no further supervised release. The Court recommends

  service of sentence at FCI Texarkana.

         So ORDERED and SIGNED this 3rd              day of December, 2021.



                                                     ___________________________________
                                                     JEREMY D. KERNODLE
                                                     UNITED STATES DISTRICT JUDGE




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